                            Case 1:21-cr-00430-TJK Document 7 Filed 04/22/21 Page 1 of 1
AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT
                                                                    for the

                                                           District of&ROXPELD

                      United States of America
                                 v.                                   )
                                                                      )        Case No.
                      Michael Gareth Adams
                                                                      )
                                                                      )
                                                                      )
                                                                      )
                             Defendant


                                                        ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                           Michael Gareth Adams                                             ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment               u Superseding Indictment          u Information        u Superseding Information             ;
                                                                                                                        u Complaint
u Probation Violation Petition               u Supervised Release Violation Petition        u Violation Notice          u Order of the Court

This offense is briefly described as follows:

 18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful
 Authority;
 18 U.S.C. § 1752(a)(2) - Knowingly Engages in Disorderly or Disruptive Conduct in Restricted Building or Grounds;
 40 U.S.C. § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Grounds;
 40 U.S.C. § 5104(e)(2)(G) - Violent Entry and Disorderly Conduct on Capitol Grounds.
                                                                                                            2021.04.20 14:27:16
Date:                                                                                              -04'00'
                                                                                             Issuing officer’s signature

City and state:                      :DVKLQJWRQ'&                         =LD0)DUXTXL860DJLVWUDWH-XGJH
                                                                                  _                                 _
                                                                                               Printed name and title


                                                                    Return

          This warrant was received on (date)           4/20/2021         , and the person was arrested on (date)           4/22/2021
at (city and state)            Alexandria, Virginia             .

Date:        5/12/2021
                                                                                            Arresting officer’s signature



                                                                                               Printed name and title
